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Frederick K. Brewington                                                                                Of Counsel
Albert D. Manuel III                                                                                   Oscar Holt III
Cobia M. Powell                                                                                        Jay D. Umans



                                                                    May 16, 2024

         VIA ELECTRONIC CASE FILING
         HON. LORNA G. SCHOFIELD
         United States District Court Judge
         United States District Court
         Southern District of New York
         500 Pearl Street
         New York, New York 10007

                          Re:     Timothy Rodgers v. Mercy College, et. al.
                                  Docket No.: 23-CV-07278

         Dear Judge Schofield:

                 As the record reflects, we are the attorneys for the Plaintiff in the above-referenced matter. We
         respectfully submit this correspondence in accordance with Your Honor’s Order dated May 14, 2024
         regarding removal of Attorney, Leah E. Jackson, as counsel for Plaintiff.

                  Ms. Jackson has resigned from the employ of this office effective December 29, 2023. The current
         status in this case specifies Fact Discovery for all parties is due to be completed by May 31, 2024, and Expert
         Discovery by July 1, 2024. Ms. Jackson asserts no retaining or charging lien in this matter. We therefore,
         respectfully request that her name be removed as counsel.

                 We thank the court for its time and attention to this matter.


                                                                    Sincerely,

                                                                    /s/Frederick K. Brewington
                                                                    FREDERICK K. BREWINGTON

         FKB:rw
